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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


GAYLE JENTZ, on behalf of herself individually
and on behalf of all others similarly situated,
                                                      Case No. 1:23-CV-06944
                    Plaintiff,

        v.

TEACHERS INSURANCE AND ANNUITY
ASSOCIATION OF AMERICA,                           .

                    Defendant.
ANDRE LOPEZ, on behalf of himself and all
others similarly situated,
                                                      Case No. 1:23-cv-06956
                             Plaintiff,
       v.

TEACHERS INSURANCE AND ANNUITY
ASSOCIATION OF AMERICA,

                             Defendant.


Gwendolyn Smuda and Steven Checchia, on
behalf of themselves and all others similarly
situated,                                             Case No. 1:23-cv-07020

                             Plaintiff,

      v.

TEACHERS INSURANCE AND ANNUITY
ASSOCIATION OF AMERICA,

                             Defendant.
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SHAY L. KING, individually, and on behalf of all
others similarly situated,

                   Plaintiff,                          Case No.   1:23-cv-07407

       v.

TEACHERS INSURANCE AND ANNUITY
ASSOCIATION OF AMERICA,

                   Defendant
ROBIN ANDERSON, on behalf of herself and all
others similarly situated,
                                                       Case No. 1:23-cv-07437
                   Plaintiff,

       v.

TEACHERS INSURANCE AND ANNUITY
ASSOCIATION OF AMERICA,                            .

                   Defendant.




          MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
     AMENDED MOTION FOR APPOINTMENT OF INTERIM CLASS COUNSEL
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                                        INTRODUCTION

       Plaintiffs Gayle Jentz, Andre Lopez, Shay King and Robin Anderson (together,

“Plaintiffs”) respectfully move this Court to appoint Gary M. Klinger of Milberg Coleman Bryson

Phillips Grossman, PLLC (“Milberg”) Israel David of Israel David LLC, and John A. Yanchunis

of Morgan and Morgan Complex Litigation Group (“Morgan and Morgan”) as Interim Co-Lead

Class Counsel and Daniel Srourian of Srourian Law Firm P.C. and James M. Evangelista of

Evangelista Worley LLC as members of the Plaintiffs’ Executive Committee pursuant to Fed. R.

Civ. P. 23(g) (collectively, “Proposed Interim Class Counsel”). Proposed Interim Class Counsel

are the right team to guide this litigation for the putative class members as they are nationally

recognized as leaders in data breach litigation and have litigated and are currently litigating dozens

of data breach class actions across the country. Moreover, Proposed Interim Class Counsel’s

respective firms have the resources necessary, both in terms of attorneys and financial capital, to

prosecute and to take a complex data breach class action like the one before this Court to trial.

Their appointment will best serve the class.

       Five cases regarding this data breach have already been filed in this District. Similar filings

are near-certain to follow, as the data breach at issue resulted in unauthorized access to more than

2 million putative class members’ sensitive information. Accordingly, and as further explained

below, appointment of interim class counsel is needed to protect the interests of the putative class

and will avoid duplication of work and avoid inconsistent rulings from different courts on the same

issues. Most importantly, “[d]esignation of lead counsel [will] ensure[] the protection of the

interests of the class in making and responding to motions, conducting discovery, and negotiating




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possible settlements.” Szymczak v. Nissan N. Am., Inc., 2012 WL 1877306, at *1 (S.D.N.Y. May

15, 2012) (Briccetti, J.) (citing Manual for Complex Litigation § 21.11 (4th ed. 2004)1).

                                  RELEVANT BACKGROUND

         Defendant Teachers Insurance and Annuity Association of America (“Defendant” or

“TIAA”) failed to implement adequate and reasonable data security measures sufficient to

safeguard the personally identifiable information (“PII”) of Plaintiffs and Class Members. As a

result, cybercriminals were able to gain access to TIAA’s data, including Plaintiffs and Class

Members’ full names, addresses, dates of birth, gender, and Social Security numbers (the “Data

Breach”). Plaintiffs allege that they and members of the putative class have suffered damages as a

result of the unauthorized and preventable disclosure of their sensitive information.

         On August 7, 2023, Plaintiff Gayle Jentz filed her complaint against Defendant for injuries

arising from the Data Breach, Jentz v. Teachers Insurance and Annuity Association of America

(“TIAA”), No. 23-cv-06944. Also on August 7, 2023, Plaintiff Andre Lopez filed his complaint

against Defendant, Lopez v. Teachers Insurance and Annuity Association of America, No. 23-cv-

06956. On August 9, 2023, Plaintiffs Gwendolyn Smuda and Steven Checchia filed their complaint

against Defendant, Smuda et al v. Teachers Insurance and Annuity Association of America, Case

No. 23-cv-7020. On August 21, 2023, Plaintiff Shay L. King filed his complaint against Defendant,

King v. Teachers Insurance and Annuity Association of America, Case No. 23-cv-7407. And on

August 22, 2023 Robin Anderson filed her complaint against Defendant, Anderson v. Teachers

Insurance and Annuity Association of America, Case No. 23-cv-7437 (collectively, the “Related

Actions”). A motion to consolidate the Related Actions, as well as any substantially similar

actions, was filed on August 29, 2023 and is currently pending the Court’s review.



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    Hereinafter, the “Manual”


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I.     APPOINTMENT OF INTERIM CLASS COUNSEL IS NEEDED TO AVOID
       DUPLICATIVE FILINGS AND PROTECT THE INTERESTS OF PUTATIVE
       CLASS MEMBERS

       Federal Rule of Civil Procedure 23(g)(3) permits the appointment of interim lead counsel

“to act on behalf of putative class members before determining whether to certify the action as a

class action.” Fed. R. Civ. P. 23(g)(3) (cited in Adedipe v. U.S. Bank, Nat’l Ass’n, Nos. 13-2687

(JNE/JJK), 13 22944 (JNE/JKK), 2014 WL 835174, at *2 (D. Minn. Mar. 4, 2014)); see also

Moehrl v. Nat’l Ass’n of Realtors, No. 19-cv-01610, 2020 WL 5260511, at *1 (N.D. Ill. May 30,

2020). Early appointment of interim class counsel is warranted when there are competing

“copycat” filings or the risk of such filings. Multiple identical or similar actions prevent efficient

prosecution of claims, disjointed legal strategy, and prejudice to defendants, plaintiffs, and putative

class members. See Gamboa v. Ford Motor Co., 381 F. Supp. 3d 853, 867 (E.D. Mich. 2019)

(“Designation of interim counsel is particularly appropriate when several lawyers have filed

related ‘copycat’ actions.”). “In such cases, designation of interim counsel clarifies responsibility

for protecting the interests of the class during precertification activities, such as making and

responding to motions, conducting any necessary discovery, moving for class certification, and

negotiating settlement.” Troy Stacy Enter. Inc., 337 F.R.D. at 409 (S.D. Ohio 2021) (citing

Manual § 21.11).

       Here, multiple cases have been filed and early appointment of counsel to lead the

prosecution of this class case is necessary to conserve resources, avoid duplication of effort and

confusion amongst the putative class, eliminate the risk of inconsistent rulings, and to allow the

class to speak with a unified voice. “Establishing interim lead counsel in this action will minimize

the risk of duplicative filings and allow the Court to consolidate related filings more efficiently.”

Bernstein v. Cengage Learning, Inc., 2019 WL 6324276, at *2 (S.D.N.Y. Nov. 26, 2019); see also

id. (appointing interim counsel even though “only one law firm represents Plaintiffs and there are


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no other pending related actions” because “the recent existence of those other cases asserting

similar claims with other plaintiffs represented by [other counsel] shows that the possibility of

more such cases is not foreclosed.


II.    PROPOSED INTERIM CLASS COUNSEL SHOULD BE APPOINTED INTERIM
       CLASS COUNSEL

       Determining the appointment of lead class counsel requires the court to consider: “(1) the

work counsel has done in identifying or investigating potential claims in the action; (2) counsel’s

experience in handling class actions, other complex litigation, and the types of claims asserted in

the action; (3) counsel’s knowledge of the applicable law; and (4) the resources that counsel will

commit to representing the class. A court may also consider any other matter pertinent to counsel’s

ability to fairly and adequately represent the interests of the class.” Bergeron, 2020 WL 9380794,

at *1 (quoting Haynie v. Cornell Univ., 2020 WL 6043947 (N.D.N.Y. Oct. 13, 2020) at *1-2); see

also Fed. R. Civ. P. 23(g)(1)(A)). “Ultimately, the court’s goal is achieving efficiency and

economy without jeopardizing fairness to the parties.” Bergeron, 2020 WL 9380794, at *1

(quoting In re Air Cargo Shipping Servs. Antitrust Litig., 240 F.R.D. 56, 57–58 (E.D.N.Y. 2006)).

Each of these considerations, as detailed below, supports the appointment of Proposed Interim

Class Counsel.


III.   PROPOSED INTERIM CLASS COUNSEL HAVE THOROUGHLY IDENTIFIED
       AND INVESTIGATED THE CLAIMS

       While no one factor under Federal Rule of Civil Procedure 23(g)(1) “should necessarily

be determinative,” Advisory Committee Notes (2003), the investigative and analytical efforts of

counsel can be a deciding factor:

       In a case with a plaintiff class, the process of drafting the complaint requires some
       investigatory and analytical effort, tasks that strangers to the action most likely will
       not have undertaken. All other things being equal, when an attorney has performed
       these or other investigative and analytical tasks before making the application for


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       appointment, he or she is in a better position to represent the class fairly and
       adequately than attorneys who did not undertake those tasks.

Moore’s Fed. Prac. § 23.120(3)(a) (3d. Ed. 2007).

       Here, Proposed Interim Class Counsel’s work in identifying and investigating the claims

in this case demonstrates that they have and will continue to fairly and adequately represent the

proposed class. Proposed Interim Class Counsel have diligently investigated and advanced this

litigation, including through analyzing the circumstances surrounding the Data Breach,

interviewing several dozen consumers injured by the Data Breach, researching legal claims,

drafting initial pleadings, drafting and serving a document preservation notice upon Defendant,

and organizing Plaintiffs and counsel to move the litigation forward.

       Proposed Interim Class Counsel worked to quickly organize and avoid any delay caused

by a leadership dispute to address the merits of the case as expeditiously as possible. And Proposed

Interim Class Counsel’s efforts at self-organization were successful, as evidenced by this Motion.

Proposed Interim Class Counsel operate as a cohesive, well-organized group. Work assignments

have been, and will continue to be, allocated fairly and in a manner that takes advantage of each

firm’s strengths while eliminating duplication. In the future, and if appointed, Proposed Interim

Class Counsel will establish a standardized protocol for managing and reporting time and expenses

incurred. Accordingly, the substantial work, cooperation, and investigation weigh in favor of

appointing the Proposed Interim Lead Counsel under Fed. R. Civ. P. 23(g)(3).


IV.    PROPOSED INTERIM CLASS COUNSEL IS EXPERIENCED IN HANDLING
       CLASS ACTIONS AND OTHER COMPLEX LITIGATION

       The second factor the Court must consider is “counsel’s experience in handling class

actions, other complex litigation, and the types of claims asserted in the action.” Fed. R. Civ. P.

23(g)(1)(A)(ii). Here, Proposed Interim Class Counsel have substantial experience handling class




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actions involving data breach and data privacy cases, and have been appointed to leadership

positions in several high-profile Data Breach cases. As demonstrated below, Proposed Class

Counsel are uniquely qualified to lead this litigation.


               1.      PROPOSED CO-LEAD CLASS COUNSEL

                       A.      GARY M. KLINGER OF MILBERG

       Since its founding in 1965, Milberg has repeatedly taken the lead in landmark cases that

have set groundbreaking legal precedents, prompted changes in corporate governance, and

recovered over $50 billion in verdicts and settlements.2 Milberg has been instrumental in

obtaining precedent setting decisions at every level, including at the United States Supreme

Court.3 The firm pioneered federal class action litigation and is widely recognized as a leader in

defending the rights of victims of large-scale wrongdoing. Milberg has been described by the

New York Times as “[a] powerhouse that compelled miscreant and recalcitrant businesses to pay

billions of dollars to aggrieved shareholders and customers.” 4

       Milberg is one of the largest plaintiffs’ class action firms in the United States (and abroad).

The firm currently is involved in some of the largest and well-known class action cases in the

country and is particularly active in the field of data breach and privacy litigation. The firm is

comprised of more than one hundred-twenty attorneys who work from offices across the United

States and in Portugal, the United Kingdom, the Netherlands, and Germany.



2
  See, e.g., In re Tyco Int’l Ltd., Sec. Litig., MDL 1335 (D.N.H.) (serving as lead counsel and
obtaining approval of $3.2 billion settlement); In re Prudential Ins. Co. Sales Practice Litig., No.
95-4704 (D.N.J.) (serving as lead counsel and recovering more than $4 billion for policyholders);
see also https://milberg.com/outstanding-recoveries/.
3
  See https://milberg.com/precedent-setting-decisions/page/3/.
4
  Sam Roberts, Melvyn Weiss, Lawyer Who Fought Corporate Fraud, Dies at 82, N.Y. TIMES,
(Feb. 5, 2018), https://www.nytimes.com/2018/02/05/obituaries/melvyn-weiss-lawyer-who-
fought-corporate-fraud-dies-at-82.html.


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       Mr. Klinger is a Partner at Milberg and Chair of its Data Privacy and Cybersecurity

Practice Group. Mr. Klinger is one of the most well-known and respected data privacy attorneys

in the United States and has extensive experience serving as leadership in numerous privacy class

actions, including as lead or co-lead counsel in the largest data breaches in the country. Over the

past 3 years, Mr. Klinger has settled on a class-wide basis more than forty (40) class actions

involving privacy violations, the majority of which are data breaches, in State and Federal courts

across the country as lead or co-lead counsel. To his knowledge, no other attorney in the country

has settled more data breach class actions during this time period. Representative cases include:

              Parris, et al., v. Meta Platforms, Inc., Case No.2023LA000672 (18th Cir. DuPage
               Cty., Ill.) (where Mr. Klinger serves as lead counsel and obtained a settlement
               of $68.5 million for 4 million consumers in a privacy class action);

              Boone v. Snap, Inc., Case No. 2022LA000708 (18th Cir. DuPage Cty., Ill.) (where
               Mr. Klinger served as lead counsel and obtained a settlement of $35 million for
               3 million consumers in a privacy class action);

              Carrera Aguallo v. Kemper Corp., Case No. 1:21-cv-01883 (N.D. Ill. Oct. 27,
               2021) (where Mr. Klinger served as lead counsel in a data breach class action
               involving 6 million consumers and reached a settlement valued at $17 million);

              Heath v. Insurance Techs. Corp., No. 21-cv- 01444 (N.D. Tex.) (where Mr.
               Klinger served as lead counsel and reached a class-wide settlement for $11 million
               for a major data breach involving more than 4 million consumers).

       Mr. Klinger is presently serving as court-appointed lead-counsel in several of the largest

privacy class actions in the country, including:

              In re Meta Browser Tracking Litigation, Case No. 3:22-cv-05267-AMO (N.D.
               Cal.) (where Mr. Klinger is court-appointed co-lead counsel to tens of millions of
               consumers in a privacy class action against Facebook);

              Morrill v. Lakeview Loan Servicing, LLC, Case No. 1:22-cv-20955-DPG (S.D.
               Fla.) (where Mr. Klinger is appointed to the leadership committee in a data breach
               class action involving 6 million consumers);




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               Sherwood v. Horizon Actuarial Services, LLC, Case No. 1:22-cv-01495-ELR
                (N.D. Ga.) (where Mr. Klinger is court-appointed co-lead counsel in a data breach
                class action involving 4 million consumers);

               In re: Cerebral, Inc. Privacy Practices, Case No. 2:23-cv-1803 (C.D. Cal.) (where
                Mr. Klinger is court-appointed co-lead counsel in a privacy class action involving
                3 million consumers);

               Dusterhoft v. OneTouchPoint Corp., Case No. 2:22-cv-00882-BHL (E.D. Wis.)
                (where Mr. Klinger is court-appointed co-lead counsel in a data breach class action
                involving 4 million consumers); and

               In re: Arthur J. Gallagher, Case No. 1:22-cv-000137 (N.D. Ill) ((where Mr.
                Klinger is court-appointed co-lead counsel in a data breach class action involving
                3 million consumers).

        Of recent, Mr. Klinger has been instrumental in bringing national attention to the unlawful

disclosure of personally identifiable information through the use of online tracking technologies

(e.g., the Meta Pixel), including by investigating and filing one of the first cases of its kind in the

United States. See Quinto v. The Regents of the University of California, Case No. 22-cv-012970

(Sup. Ct. Alameda Cty.) (complaint filed June 16, 2022). In the wake of that lawsuit, and due to

Mr. Klinger’s investigation, UCLA issued notice to more than 94,000 California consumers

advising their private information had been unlawfully disclosed to third-parties. 5 See

https://www.uclahealth.org/data-notice. Mr. Klinger is presently litigating more than a dozen

similar class actions against various companies for their use of tracking technologies such as Meta

Pixel. Moreover, he is one of the few lawyers in the country to have settled a data privacy class

action over its use of tracking technologies on a class-wide basis. See John v. Advocate Aurora




5
  In the wake of the Quinto lawsuit, the Department of Health and Human Services (DHHS) issued
a bulletin on the requirements under HIPAA for online tracking technologies providing that
“[r]egulated entities are not permitted to use tracking technologies in a manner that would result
in impermissible disclosures of ePHI to tracking technology vendors or any other violations of the
HIPAA Rules.” See https://www.hhs.gov/about/news/2022/12/01/hhs-office-for-civil-rights-
issues-bulletin-on-requirements-under-hipaa-for-online-tracking-technologies.html.


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Health, Inc., No. 22-CV-1253-JPS (E.D. Wis.) (appointed co-lead counsel with preliminary

approval of a $12 million settlement filed on August 11, 2023).

       Mr. Klinger has also successfully litigated privacy class actions through class certification.

In Karpilovsky v. All Web Leads, Inc., No. 17 C 1307, 2018 WL 3108884, at *1 (N.D. Ill. June

25, 2018), Mr. Klinger certified, over objection, a nationwide privacy class action involving more

than one million class members. Id. In a recent nationwide privacy class settlement hearing in the

U.S. District Court for the Northern District of California, Judge Richard Seeborg personally

commended Mr. Klinger for “quite a substantial recovery for class members.” Judge Seeborg

further stated he could not recall any class action case where “the amounts going to each class

member were as substantial” as that obtained by Mr. Klinger (and his co-counsel).

       In addition to his professional experience, Mr. Klinger is presently pursuing his Masters

of Laws (LLM) in Data Privacy and Cybersecurity from the University of Southern California

Gould School of Law and is a Certified Information Privacy Professional (CIPP/US).

       Additional information regarding Mr. Klinger and Milberg can be found in the Milberg

firm resume, attached hereto as Exhibit A.


                      B.      ISRAEL DAVID OF ISRAEL DAVID LLC

       Israel David has more than 25 years of experience in representing corporations, boards of

 directors, and senior corporate management in a wide array of corporate and commercial

 disputes, with an emphasis on securities and shareholder class actions, data-privacy class

 actions, antitrust class actions, derivative lawsuits, along with other complex business disputes.

 He has litigated numerous “bet-the-company” cases at the trial court and appellate levels in

 federal and state courts throughout the US, and in domestic and international arbitration

 proceedings. Mr. David has earned national acclaim for having successfully represented clients



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in some of the largest and most high-profile securities and shareholder lawsuits in the last quarter

century.

Among numerous other class action lawsuits nationwide, these include:

     Co-leading the representation of Wells Fargo & Company, its predecessor Wachovia
      Corporation, and Wachovia’s senior-most officers and directors in the consolidated class
      action securities lawsuit in the Southern District of New York arising out of the financial
      collapse of Wachovia. The lawsuit (which alleged losses of $109 billion) is considered
      to be one of the largest class action securities lawsuits in U.S. history to have obtained a
      complete dismissal with prejudice.

     Co-Leading Leading the representation of the President of Lehman Brothers in numerous
      lawsuits nationwide – including the consolidated class action securities lawsuit in the
      Southern District of New York – arising out of the collapse of Lehman Brothers, likely
      the largest corporate financial collapse in U.S. history.

     Co-leading the representation of all of the underwriters of the General Motors Company
      2010 IPO – the then-largest IPO in U.S. history – in a class action securities lawsuit in
      the Southern District of New York.

     Co-leading the representation of eight globally leading banks in a class action securities
      lawsuit in the Southern District of New York involving the issuance of approximately
      $26 billion of Residential Mortgage-Backed Securities.


     Leading the representation of two members of the Board of Directors of The Weinstein
      Company in the high-profile sexual-assault class action lawsuit in the Southern District
      of New York, arising out of the well-publicized claims of sexual assault allegedly
      committed by that company’s CEO.

      In January 2023, the Honorable Judge Ann M. Donnelly of the United States District Court

for the Eastern District of New York appointed Israel David LLC as Interim Co-Lead Class

Counsel in the high-profile antitrust class action lawsuit challenging the so-called Northeast

Alliance entered into by American Airlines and JetBlue Airlines. In re American

Airlines/JetBlue Antitrust Litigation (22-cv-07374-AMD-TAM).

      Most recently, in July 2023, the Honorable Judge Katherine Polk Failla of the United States

District Court for the Southern District of New York appointed Israel David LLC as Interim Lead


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 Class Counsel in a data privacy class action lawsuit involving a data security incident at The

 Metropolitan Opera in New York City. Tuteur v. Metropolitan Opera Association, Inc. (23-cv-

 03997).

       In July 2023, the Honorable Judge Kandis A. Westmore of the United States District Court

 for the Northern District of California appointed Israel David LLC as Interim Co-Lead Class

 Counsel in a data privacy class action lawsuit involving a data security incident that compromised

 the private data of over 200 million Twitter users. Gerber v. Twitter, Inc., et al. (23-cv-00186-

 KAW).

       In July, 2023, the Honorable Judge Araceli Martinez-Olguin of the United States District

 Court for the Northern District of California appointed Israel David LLC to the Plaintiffs’ Executive

 Committee in a data privacy class action lawsuit arising out of the illicit sharing with Google and

 Facebook of sensitive private health information of unsuspecting consumers by an online healthcare

 provider. Doe v. GoodRx Holdings, Inc, et al. (23-cv-00501-AMO).

       Prior to founding Israel David LLC, Mr. David was a prominent partner from 2005 to

2022 at the elite international law firm of Fried, Frank, Harris, Shriver & Jacobson LLP, and was

an associate at that firm from 1996 to 2005.

       Established in 2022, Israel David LLC is a growing and diverse high-end litigation

 boutique focused exclusively on class action lawsuits and complex commercial litigation. Israel

 David LLC is comprised of seasoned litigators with extensive experience in antitrust class

 actions, data and online privacy class actions, securities and shareholder litigation, consumer

 class actions, and commercial and business litigation. T h e F i r m ’ s principal partners have

 over 40 years of combined experience litigating high-stakes class action lawsuits at some of the




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most prestigious law firms in the world, including over 20 years combined experience as

prominent partners at those firms.

      Additional information regarding Mr. David and Israel David, LLC can be found in the

Israel David firm resume, attached hereto as Exhibit B.


                      C.      JOHN A. YANCHUNIS OF MORGAN AND MORGAN

      John Yanchunis leads Morgan & Morgan’s class action group. Morgan & Morgan is

America’s largest injury law firm with over 900 lawyers in offices throughout the United States.

Its depth as a trial firm, and its self-funded financial resources, allow it to undertake the largest

and most significant cases throughout the country. Mr. Yanchunis—whose career as a trial

lawyer began over 41 years ago following the completion of a two-year clerkship with United

States District Judge Carl O. Bue, Southern District of Texas, (now deceased)—has efficiently

and expeditiously led many privacy-related Multidistrict Litigation (MDL) and non-MDL class

action proceedings, including as Lead or Co-Lead Counsel in some of the largest privacy class

actions. He has focused his practice on class action litigation for over 28 years.

      Mr. Yanchunis began his work in privacy litigation in 1999 with the filing of In re

Doubleclick Inc. Privacy Litigation, 154 F. Supp. 2d 497 (S.D.N.Y. 2001), alleging privacy

violations based on the placement of cookies on hard drives of internet users. Beginning in 2003,

he served as co-Lead Counsel in the successful prosecution and settlement of privacy class

action cases involving the protection of privacy rights of more than 200 million consumers under

the Driver’s Protection Privacy Act (DPPA) against the world’s largest data and information

brokers, including Experian, R.L. Polk, Acxiom, and Reed Elsevier (which owns Lexis/Nexis).

See Fresco v. Automotive Directions, Inc., No. 03-61063-JEM (S.D. Fla.), and Fresco v. R.L.

Polk, No. 07-cv-60695-JEM (S.D. Fla.). Subsequently, he also served as co-Lead Counsel in the


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DPPA class cases, Davis v. Bank of America, No. 05-cv-80806 (S.D. Fla.) ($10 million class

settlement), and Kehoe v. Fidelity Fed. Bank and Trust, No. 03-cv-80593 (S.D. Fla.) ($50

million class settlement).

      As a result of his experience in insurance and complex litigation, beginning in 2005, he

was selected by Tom Gallagher, the Chief Financial Officer for the state of Florida and a member

of the Florida Cabinet, to serve as lead counsel for the Florida Department of Financial Services

and the Florida Department of Insurance Regulation (the insurance regulators of Florida) in their

investigations of the insurance industry on issues concerning possible antitrust activity and other

possible unlawful activities regarding the payment of undisclosed compensation to insurance

brokers. He served as lead regulator counsel and worked with a core group of state Attorneys

General from the National Association of Attorneys General, which were selected to conduct

the investigations. The insurance regulator for Florida was the only insurance regulator in the

group. The litigation that was filed and the related investigations netted millions of dollars in

restitution for Florida consumers and resulted in significant changes in the way commercial

insurance is sold in Florida and across the country.

      During his career, he has tried numerous cases in state and federal courts, including one

of the largest and longest insurance coverage cases in U.S. history, which was filed in 1991 by

the Celotex Corporation and its subsidiary, Carey Canada, Inc. During the seventeen years the

case pended, he served as lead counsel for several insurance companies, regarding coverage for

asbestos and environmental claims. The case was tried in three phases over several years

beginning in 1992. He was also lead counsel for these parties in the subsequent appeals that

followed a judgment in favor of his clients.




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      He has been appointed and served in leadership positions in most of the largest data breach

cases filed in the area of privacy and data breaches: In re: Capital One Consumer Data Security

Breach Litigation, No. 1:19-MD-2915-AJT (E.D. Va.)(settlement for $190,000,000 approved

for 98 million consumers ) In re Yahoo! Inc. Customer Data Security Breach Litigation, No.

5:16-MD-02752-LHK (N.D. Cal.) (“Yahoo”) (Lead Counsel) (Court approved $117,500,000.00

common fund settlement for approximately 194 million US residents and 270,000 Israeli

citizens ); In re The Home Depot, Inc. Consumer Data Sec. Data Breach Litig., No. 1:14-md-

02583-TWT (N.D. Ga.) (co-Lead Counsel) (final judgment entered approving a settlement on

behalf of a class of 40 million consumers with total value of $29,025,000); In Re: Equifax, Inc.

Customer Data Security Breach Litigation, 1:17-md-2800-TWT (N.D. Ga.) (member of the

Plaintiffs’ Steering Committee) (final judgment entered approving $380.5 million fund for 145

million consumers ); In re: U.S. Office of Personnel Management Data Security Breach

Litigation, 1:15-mc-01394-ABJ (D.D.C.) (“OPM”) (member of the Executive Committee)

(motion for preliminary approval of a $60,000,000 common fund ); In re Target Corp. Customer

Data Sec. Breach Litig., MDL No. 2522 (D. Minn.) (Executive Committee member) (final

judgment approving a settlement on behalf of a class of approximately 100 million consumers).

      His court-appointed leadership experience in non-MDL, data breach class actions is

likewise significant, and to just name a few : Schmidt, et al., v. Facebook, Inc., No. 3:18-cv-

05982 (N.D. Cal.) (Co-Lead Counsel) (“Facebook”) (class certified over Facebook’s opposition

for 8 million residents , subsequently settlement of the class was approved by the court); Walters

v. Kimpton Hotel & Restaurant, No. 3:16-cv-05387 (N.D. Cal.) (“Kimpton”) (Lead Counsel)

(class action settlement final approval order entered July 11, 2019); and In re: Arby’s Restaurant

Group, Inc. Data Security Litigation, Nos. 1:17-cv-514 and 1:17-cv-1035 (N.D. Ga.) (co-Liaison



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Counsel) (final approval of a class settlement entered June 6, 2019); and Jackson, et al., v.

Wendy’s International, LLC, No. 6:16-cv-210-PGB (M.D. Fla.) (final approval of a class

settlement entered February 26, 2019); Henderson v. Kalispell Regional Healthcare, No. CDV-

19-0761 (Montana Eighth Judicial Court – Cascade County) (final approval of class settlement

entered January 5, 2021); In re: Citrix Data Breach Litigation, No. 19-cv-61350 (S.D. Fla.)

(preliminary approval of class action settlement entered on January 26, 2021); Kuss v. American

HomePatient, Inc., et al., 18-cv-2348 (M.D. Fla.) (final approval of class action settlement

entered on August 13, 2020); Fulton-Green v. Accolade, Inc., 18-cv-274 (E.D. Pa.) (final

approval of class action settlement entered September 23, 2019); Nelson v. Roadrunner

Transportation Systems, Inc., 18-cv-7400 (N.D. Ill.) (final approval of class action settlement

entered September 15, 2020).

      He has also been appointed co lead counsel in a data privacy case that was certified as a

class over Google’s opposition , and it is headed for trial on November 6, 2023 in the Oakland

Division of the Northen District of California - Brown. et al., v. Google, LLC, 20-cv-03664

(N.D. Cal.). In another data privacy case against Google pending in the Northern District of

California, San Francisco Division, Rodriguez, et al, v. Google, LLC, 20-cv-04688 (N.D. Cal.),

he, along with his co-counsel, moved recently for class certification. He is one of three co -lead

counsel proposed to the court in the motion for class certification. A hearing on the motion for

class certification is set for September, 2023.

      Mr. Yanchunis was recognized in 2020 for the second year in a row by Law360 as one of

4 MVPs in the area of Cybersecurity and Privacy. Similarly, in 2016 and then in 2020, Mr.

Yanchunis was recognized by the National Law Journal as a Trailblazer in the Area of

Cybersecurity & Data Privacy. In 2020, Mr. Yanchunis was named Florida Lawyer of the Year



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by the Daily Business Review, and in 2022, he was awarded the Best Mentor award in the state

of Florida by the same publication. This year he was named Consumer Lawyer of the Year by

The Florida Bar’s Consumer Protection Committee. In 2023 , he was also recognized as a Titan

of the Plaintiffs’ Bar by Law360.

      Because of his experience in the area of cyber security and privacy and data breach

litigation, he is a frequent speaker nationally and internationally, and is scheduled to speak in

London in the fall at two separate symposiums on data privacy and cyber security. Presently he

is organizing with several universities in the the United States , the European Union and Israel,

a symposium to focus on data privacy. It is planned to be held in Rome in 2024.

      Exhibiting his leadership skills and his ability to work collaboratively with others , Mr.

Yanchunis has served in leadership positions on many professional committees and boards, most

prominently as a member of the Board of Directors of The Florida Bar Foundation, a member

of The Florida Board of Bar Examiners appointed by the Florida Supreme Court (5-year term,

and he continues by appointment to date as an Emeritus Member), and an elected member for

two terms to The Board of Governors of The Florida Bar, and to The Young Lawyers Division

of The Florida Bar. He has served on The Florida Bar’s Consumer Protection Committee,

including serving as its Chair. He has also served as an expert in ethical issues in class litigation

for The Florida Bar in disciplinary proceedings.

      In his profession, he received the Florida Bar Foundation President’s Award of

Excellence, the Public Justice Impact Change Award, and for his work in representing a class

of elderly indigent Floridians on Medicaid in a suit against the state of Florida, which resulted

in an increase in the benefits to class members, he was awarded The Florida Bar Elder Law

Section Chair’s Honor Award.


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       He has been recognized as a Super Lawyer for over 2 decades and is AV rated by

 Martindale Hubbell.


               2.      PROPOSED EXECUTIVE COMMITTEE

                       A.     DANIEL SROURIAN OF SROURIAN LAW FIRM, P.C.

       Mr. Srourian is the founder of Srourian Law Firm, P.C., a Los Angeles-based law firm

dedicated to fighting for the rights of consumers and employees since its inception in 2013. Mr.

Srourian began his work in the class action arena in 2014, representing employees across the

country in wage and hour class action cases for violations of the California Labor Code and the

Fair Labor Standards Act. Since that time, Mr. Srourian gained extensive class action litigation

experience, having vigorously litigated approximately 100 wage and hour class actions to date,

including conducting complex written discovery and taking depositions. Overall, since starting the

practice of law in 2013, Mr. Srourian has conducted at least 200 depositions on various matters for

which he has served as plaintiff’s counsel, as well as conducted three trials, one of which produced

a successful verdict in the amount of $1,541,000 when Defendant’s top pre-trial offer was

$450,000.00, while another produced a successful jury verdict in the amount of $1,041,697.00

when Defendant’s top pre-trial offer was a mere $30,000.00.

       Notable class action recoveries obtained by Mr. Srourian include the following: Adrian

Guerrero et al. v. Ruth’s Hospitality Group, No. JCCP5243, (Riverside County, Ca.),

$6,000,000.00 recovered on behalf of over 3,000 current/former restaurant employees (settlement

pending approval); Kirk McLemore et al. v. Nautilus Hyosung America, Inc., No. 2:17-cv-02298-

CBM (C.D. Cal.) $3,182,979.00 recovered on behalf of nearly 1,000 current/former nationwide




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ATM technicians (settlement finally approved in 2020) 6; Robert Bennet v. 48Forty Solutions,

LLC, No. CVRI2201011 (Riverside County, Ca.) $1,950,000.00 recovered on behalf of

approximately 850 warehouse laborers (settlement pending approval); Diego Zamudio v. Letter

Ride, No. RIC1805755 (Riverside County, Ca.) $1,000,000.00 recovered on behalf of

approximately 1,000 delivery drivers (settlement finally approved in 2019); Kevork Manoukian v.

John Bean Technologies, No. BC688700 (Los Angeles County, Ca.) $987,500.00 recovered on

behalf of over 500 airport staff (settlement finally approved in 2020); Chelsea Medlock et al. v.

MedMen Dispensary, No. 18STCV05391 (Los Angeles County, Ca.) $975,000.00 recovered on

behalf of nearly 1,000 retail workers (settlement finally approved in 2021). It is further notable

that none of the mentioned cases provided for any sort reversion or claims process, thereby

providing maximum relief to those injured.

         Mr. Srourian began representing consumers for data breaches in January 2023, currently

serving as counsel of record on approximately 45 class action data breach cases across the country,

some of which also have filings by other counsel in the instant case for which counsel intend to

work together. Mr. Srourian’s vast experience and expertise in class action litigation has opened

doors to allow Mr. Srourian to help consumers in a relatively new area of the law. Recently,

Srourian Law Firm was picked for the Plaintiff’s Executive Committee on the federal data breach

case of Cain et al v. CGM, L.L.C (1:23-cv-02604).

         Additional information regarding Mr. Sourian and Srourian Law Firm, P.C.can be found

in the Milberg firm resume, attached hereto as Exhibit C.




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 This settlement was the 13th largest class action settlement reported in the State of California in the year 2020, per
https://topverdict.com/lists/2020/california/top-20-class-action-settlements


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                         B.   JAMES M. EVANGELISTA OF EVANGELISTA WORLEY LLC

       Mr. Evangelista has over thirty-two years of diverse, hands-on, complex financial fraud,

commercial and class action litigation experience in federal and state courts around the United

States. Prior to focusing his practice on plaintiffs’ causes, Jim represented corporate clients as

defendants for over 12 years in high-profile class action litigation, commercial litigation and

internal investigation matters at Skadden Arps Slate Meagher & Flom LLP and Leboeuf Lamb

Green & MacRae LLP. As a plaintiff’s class action attorney, Jim has been appointed to numerous

leadership positions in a wide variety of complex consumer class actions, including those

involving data breaches, securities fraud and shareholder derivative claims. For example, Mr.

Evangelista served as:

      Co-lead counsel to class of consumers against large mattress retailer in Dennis et al v.
       Good Deal Charlies, Inc., No. 20-cv-295 (N.D. Ok.);

      Co-lead counsel to class of consumers against large community banking system in Glass
       v. Delta Community Credit Union, No. 2019CV317322 (Fulton Sup. Ct, Ga.);

      Co-lead counsel to class of consumers for data breach in Orr v. Intercontinental Hotel
       Group, No. 1:17-cv-1622 (N.D. Ga.);

      Co-lead counsel to consumer data breach class in In Re: The Home Depot, Inc., Customer
       Data Security Breach Litigation, No. 1:14-md-02583 (Aug. 23, 2016, N.D. Ga) (“The
       Court . . . finds that Lead Counsel have prosecuted the case vigorously and in the best
       interests of the Settlement Class.... This Settlement reflects an outstanding result for the
       Class in a case with a high level of risk…”);

      Co-lead counsel to consumer class alleging defective roofing products in Buske et al v.
       Owens Corning Corp., No. 16-cv-00709 (N.D. Ga.);

      Co-lead counsel to investor class alleging securities fraud in In Re: Evergreen Ultra Short
       Opportunities Fund Securities Litigation, No. 1:08-cv-11064-NMG (Dec. 12, 2012, D.
       Mass) (“[The recovery was] the product of considerable time and labor expended by Lead
       Counsel who faced novel and difficult legal obstacles … [and was] due, at least in part,
       to the quality of the representation provided by Lead Counsel.”);




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        Co-lead counsel to investor class alleging securities fraud in In Re: Bank of America Corp
         Stockholder Derivative Litigation, C. A. No. 4307-VCS (Del. Ch.), and intervention
         action in In Re: Bank of America Corp. Securities, Derivative, and Employee Retirement
         Income Security Act (ERISA) Litigation, Master File No. 09-cv-00808 (S.D.N.Y.);

        Liaison class counsel to consumer class alleging product liability in Carder v. Graco
         Children’s Products, Inc., No. 2:20-cv-00137-LMM;

        Liaison class counsel to shareholder derivative class alleging breaches of fiduciary duties,
         abuse of control, and gross mismanagement of public company in In Re: Ebix. Inc.
         Shareholder Derivative Action, No. 2011CV205276 (Fulton Sup. Ct, Ga.);

        Liaison class counsel to shareholder derivative class alleging breaches of fiduciary duty
         in In Re: EasyLink Services International Corp., Superior Court of Gwinnett County,
         GA, Civil Action No. 12A-04020-3;

        Liaison class counsel to investor class alleging securities fraud in Plymouth County
         Retirement Systems v. Carter’s, Inc. et al., 1:08-CV-2940-AT (N.D. Ga.); and

        Liaison class counsel to investor class alleging securities fraud in In Re: Internap
         Network Services Corp. Securities Litig., No. 1:08-cv- 03462-JOF.

         Additional information regarding Mr. Evangelista and Evangelista Worley LLC can be

found in the Evangelista Worley firm resume, attached hereto as Exhibit C.

V.       PROPOSED INTERIM CLASS COUNSEL ARE UNIQUELY FAMILIAR WITH
         THE APPLICABLE LAW

         As demonstrated above, Proposed Interim Class Counsel are knowledgeable about the

applicable law. Proposed Interim Class Counsel have successfully litigated contested class

certification in privacy cases at the federal district court level and have obtained significant district

court, and federal appellate decisions advancing the law in data privacy. See Webb v. Injured

Workers Pharmacy, LLC, 72 F.4th 365 (1st Cir. 2023) (reversing the dismissal with prejudice of

a data breach case and finding Article III standing); In re Arthur J. Gallagher, 631 F. Supp. 3d at

586 (defeating a motion to dismiss in a data breach case involving 3 million consumers); In re

Blackbaud, Inc., Customer Data Breach Litig., No. 3:20-MN-02972-JMC, 2021 WL 2718439, at



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*1 (D.S.C. July 1, 2021) (defeating a standing challenge in a 10 million person data breach

case); Karpilovsky v. All Web Leads, Inc., No. 17 C 1307, 2018 WL 3108884 (N.D. Ill. June 25,

2018) (certifying, over objection, a class of over 1 million consumers in a data privacy case).

        Litigating data breach class actions often entails extensive factual discovery, retention of

experts, and background knowledge in the technology and practices involved. Recurring issues of

class certification, damages, and injunctive relief require counsel that have already learned these

lessons and achieved legal rulings that facilitate prosecution. Proposed Interim Class Counsel’s

extensive experience regarding the statutes and claims at issue here, along with their substantial

track record of success, will allow them to skillfully litigate this case in the best interests of

Plaintiffs and the putative class.


VI.     PROPOSED INTERIM CLASS COUNSEL WILL COMMIT ALL NECESSARY
        RESOURCES TO REPRESENTING THE CLASS

        The final Fed. R. Civ. P. 23(g)(1)(C)(i) factor, which concerns the resources counsel will

commit to the case, also strongly supports the appointment of Proposed Interim Class Counsel.

Proposed Interim Class Counsel consist of well-established and successful law firms that can and

will provide the resources and personnel necessary to pursue a case of this magnitude, a fact they

have demonstrated in previous data breach class actions. The firms’ resources are not merely

financial, but also include substantial expertise and work-product developed in other similar cases

which will benefit Plaintiffs and the putative class. Proposed Interim Class Counsel’s ability to

draw from this well-developed repository of information will also allow them to streamline the

litigation and proceed to trial expeditiously.

        Each firm understands the time, energy, and skill necessary to lead this litigation, and all

have committed the resources required to ensure the effective and efficient representation of the

class members. In fact, Proposed Interim Class Counsel have already demonstrated their


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commitment to this litigation by devoting substantial resources to prosecuting this action. Proposed

Interim Class Counsel have already engaged in discussions with Plaintiffs’ counsel and have

expended significant resources to investigate the Data Breach, communicate with affected

individuals, research, and draft complaints, and work with Defense counsel to coordinate

consolidation.

        An important consideration is not only the resources that Proposed Interim Class Counsel

have already committed to the case but their capacity to adequately staff and fund the litigation as

it progresses. In re Mun. Derivatives Antitrust Litig., 252 F.R.D. 184, 187 (S.D.N.Y. 2008)

(“Because many of the defendants in this case are large financial institutions with substantial

financial and legal resources, it is likely that interim lead plaintiffs in this case will have to expend

considerable resources when representing the plaintiffs.”). To ensure adequate funds are available

to prosecute this litigation on behalf of the putative Class, Proposed Interim Class Counsel will

also establish a system to pay assessments proportional to the needs of the case. And, as their firm

resumes and counsels’ experience indicate, Proposed Interim Class Counsel have the resources

and willingness to see this litigation through to its conclusion, including trial.


VII.    THE FIRST-TO-FILE RULE FURTHER SUPPORTS THE APPOINTMENT OF
        PROPOSED INTERIM CLASS COUNSEL.

        Proposed Interim Class Counsel filed the first action arising from the Data Breach and in

considering Rule 23(g) motions, federal courts across the country give deference to counsel in the

first-filed case when they are qualified to handle the action. See In re Mun. Derivatives Antitrust

Litig., 252 F.R.D. 184, 186 (S.D.N.Y. 2008) (appointing as interim lead counsel the firms that filed

the first complaints and holding that where a firm has “filed the first complaint[] in [the] case, and

the subsequent complaints filed . . . are substantially similar to those initial filings,” it provides

evidence of the firm’s “substantial history of investigating the potential claims in this action.”);


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see also In re Insulin Pricing Litig., 2017 WL 4122437, at *3 (D.N.J. Sept. 18, 2017) (appointing

class counsel in part because they “filed the first complaint in this litigation”); Steele v. United

States, 2015 WL 4121607, at *4 (D.D.C. June 30, 2015) (“[S]ince both groups are more than

qualified to handle this action, it would be imminently reasonable to select the Motley Rice Group

on the basis that their complaint was filed first.”); Michelle v. Arctic Zero, Inc., 2013 WL 791145,

at *2 n.3 (S.D. Cal. Mar. 1, 2013) (“[F]irst-to file can be a relevant factor when the factors for class

counsel do not tilt heavily in either direction and there is a need for an objective tie-breaker.”);

Richey v. Ells, 2013 WL 179234, at *2 (D. Colo. Jan. 17, 2013) (“Ultimately, Plaintiff Richey was

the first to file his case and, therefore, the Court appoints his counsel as Lead Counsel for the

consolidated action.”); Carlin v. DairyAmerica, Inc., 2009 WL 1518058, at *2 (E.D. Cal. May 29,

2009) (where multiple counsel filing two identical class action lawsuits seek appointment of

interim class counsel, appointment of the first-filed counsel is appropriate where “a simple

comparison of the original complaint . . . with the [second-filed complaint] reveals that they are

almost identical”); Moradi v. Adelson, 2011 WL 5025155, at *3 (D. Nev. Oct. 20, 2011)

(“Moreover, as the Moradi Plaintiffs were the first to file suit, it would be appropriate to assign

[their attorneys] as lead counsel.”); Biondi v. Scrushy, 820 A.2d 1148, 1159 (Del. Ch. 2003) (noting

that courts will consider which action was filed first for lead counsel purposes where “there is a

need for an objective tie-breaker”).

        Through their combined experience, Proposed Interim Class Counsel wholly understand

the significant amount of time and resources needed to effectively prosecute class actions and are

ready to accept this responsibility. If appointed, Proposed Interim Class Counsel will continue to

commit the same resources and effort to this case as they have committed to their other successful

data breach cases.




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                                       CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court appoint Gary M.

Klinger of Milberg Coleman Bryson Phillips Grossman, PLLC (“Milberg”) Israel David of Israel

David LLC, and John A. Yanchunis of Morgan and Morgan as Interim Co-Lead Class Counsel

and Daniel Srourian of Srourian Law Firm, P.C. and James M. Evangelista of Evangelista Worley

LLC as members of the Plaintiffs’ Executive Committee pursuant to Fed. R. Civ. P. 23(g).

Dated: September 1, 2023                    Respectfully submitted,

                                           /s/ Vicki J. Maniatis
                                           Vicki J. Maniatis (NY Bar No. 2578896)
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                            Attorneys for Plaintiff




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on September 1, 2023 the foregoing document was

filed via the Court’s ECF system, which will cause a true and correct copy of the same to be served

electronically on all ECF-registered counsel of record.


                                                     /s/ Vicki J. Maniatis
                                                     Vicki J. Maniatis




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